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1                                                                         Judge Robert J. Bryan
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6                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
7                                           AT TACOMA
8

9
      UNITED STATES OF AMERICA,                      )
                                                     )         NO. CR08-5604RJB-001
10
                                   Plaintiff,        )
                                                     )         ORDER GRANTING
11
                             v.                      )         GOVERNMENT’S MOTION TO
                                                     )         SEAL
12
      ANTHONY CHARLES BLEVELLS,                      )
                                                     )
13
                                   Defendant.        )
                                                     )
14
                                                     )

15

16           Pursuant to CrR 32 (c)(1)(A), Local Rules W.D. Wash., the government's request

17   that the Government’s Supplemental Response and all responses and replies in the above-

18   captioned matter be sealed, is hereby GRANTED.

19

20           DATED this 28th day of June, 2010.

21

22                                                  A
                                                    Robert J Bryan
23                                                  United States District Judge
24
     Presented by:
25
     s/ Arlen Storm
26   ARLEN STORM
27   Assistant United States Attorney

28

     Order Granting Government’s
     Motion to Seal/CR08-5604RJB-001/Blevells - 1                                     UNITED STATES ATTORNEY
                                                                                      1201 PACIFIC AVENUE, SUITE 700
                                                                                       TACOMA, WASHINGTON 98402
                                                                                              (253) 428-3800
